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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civil Action No.: 21-cv-1574-PAB-KLM

   UNITED STATES SECURITIES AND EXCHANGE COMMISSION,

          Plaintiff,

                   v.

   CELL>POINT, L.L.C.,
   CELL THERANOSTICS, LTD,
   CELL THERANOSTICS, INC.,
   GREG RUSSELL COLIP, and
   TERRY ALLEN COLIP,

          Defendants.



            DECLARATION OF TY J. COTTRILL IN SUPPORT OF MOTION FOR
                       REMEDIES AND FINAL JUDGMENT



               I, TY J. COTTRILL do hereby declare under penalty of perjury, in accordance with

   28 U.S.C. § 1746, that the following is true and correct, and that I am over 18 years of age and

   I am competent to testify to the matters stated herein:

          1.       I am employed as an attorney in the Division of Enforcement in the Denver

   Regional Office of the Securities and Exchange Commission (“SEC”) and hold the title of

   Senior Counsel. As part of my job duties, I am responsible for investigating potential

   violations of the federal securities laws. In conducting factual investigations, my job

   responsibilities generally include issuing subpoenas, taking investigative testimony, and

   conducting other investigative activities, as well as drafting internal legal analyses and

   preparing cases for litigation.


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          2.       I was assigned to an investigation titled In the Matter of Cell>Point, LLC (D-

   3944). Among other things, our investigative work included issuing subpoenas for

   documents, reviewing documents produced by the Defendants and other parties, and taking

   investigative testimony.

               3. During the course of the investigation, we issued subpoenas and made requests

   for documents to the Defendants and third parties. Pursuant to those subpoenas and requests, we

   obtained copies of documents including various versions of Cell>Point’s Private Placement

   Memoranda (“PPMs”), Investor Decks, and Quarterly Reports.

               4. Each of the nineteen Cell>Point PPMs the SEC received states: “The net proceeds

   . . . will be used to fund the Phase 3 Oncardia® Oncology trial, the Phase 2b/3 Oncardia®

   Cardiology trial, license preparation and provide general working capital.” See Ex. 1, January 16,

   2016 PPM at 2; Ex. 2, November 1, 2016, Cell>Point PPM at 2; Ex. 3, April 3, 2017, Cell>Point

   PPM at 2; Ex. 4, July 3, 2017, Cell>Point PPM at 2; Ex. 5, September 1, 2017, Cell>Point PPM

   at 2; Ex. 6, June 1, 2018, Cell>Point PPM at 2; Ex. 7, October 1, 2018, Cell>Point PPM at 2; Ex.

   8, October 2, 2018, Cell>Point PPM at 2; Ex. 9, January 2, 2019, Cell>Point PPM at 2; Ex. 10,

   February 10, 2019, Cell>Point PPM at 2; Ex. 11, April 1, 2019, Cell>Point PPM at 2; Ex. 12,

   April 2, 2019, Cell>Point PPM at 2; Ex. 13, June 1, 2019, Cell>Point PPM at 2; Ex. 14,

   September 1, 2019, Cell>Point PPM at 2 (“The net proceeds…will be used to fund the Phase 3
   99m
     Tc-Oncardia® Oncology trial, the Phase 2b/3 99mTc-Oncardia® Cardiology trial and provide

   general working capital to the Company.”); Ex. 15, October 1, 2019, Cell>Point PPM at 2; Ex.

   16, January 2, 2020, Cell>Point PPM at 2; Ex. 17, February 1, 2020, Cell>Point PPM at 2; Ex.

   18, June 1, 2020, Cell>Point PPM at 2; Ex. 19, October 21, 2020, Cell>Point PPM at 2.




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              5. Each of the nineteen Cell>Point PPMs the SEC received additionally states: “[t]he

   proceeds will be primarily used to fund various clinical trial studies. . .” See Ex. 1, January 16,

   2016 PPM at 3; Ex. 2, November 1, 2016, Cell>Point PPM at 3; Ex. 3, April 3, 2017, Cell>Point

   PPM at 3; Ex. 4, July 3, 2017, Cell>Point PPM at 3; Ex. 5, September 1, 2017, Cell>Point PPM

   at 3; Ex. 6, June 1, 2018, Cell>Point PPM at 3; Ex. 7, October 1, 2018, Cell>Point PPM at 3; Ex.

   8, October 2, 2018, Cell>Point PPM at 3; Ex. 9, January 2, 2019, Cell>Point PPM at 3; Ex. 10,

   February 10, 2019, Cell>Point PPM at 3; Ex. 11, April 1, 2019, Cell>Point PPM at 3; Ex. 12,

   April 2, 2019, Cell>Point PPM at 3; Ex. 13, June 1, 2019, Cell>Point PPM at 3; Ex. 14,

   September 1, 2019, Cell>Point PPM at 3; Ex. 15, October 1, 2019, Cell>Point PPM at 3; Ex. 16,

   January 2, 2020, Cell>Point PPM at 3; Ex. 17, February 1, 2020, Cell>Point PPM at 3; Ex. 18,

   June 1, 2020, Cell>Point PPM at 3; Ex. 19, October 21, 2020, Cell>Point PPM at 3.



          Dated: May 10, 2024




                                                 Ty J Cottrill_______________




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